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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                        CASE NO: 1:18-cv-____________________

  SHERA HODGSON WILLIAMS,

         Claimant in Arbitration,
  v.

  NORWEGIAN CRUISE LINES
      (Bahamas) LTD.,

        Respondent in Arbitration.
  __________________________________/

              CLAIMANT’S MOTION TO VACATE ARBITRATION AWARD

         Claimant SHERA HODGSON WILLIAMS (“Claimant”) requests entry of an order

  which vacates the Final Award delivered on April 10, 2018 (attached hereto as Exhibit

  “A”) in an arbitration between herself and Respondent NORWEGIAN CRUISE LINES

  (Bahamas) LTD. (“Respondent”), ICDR Case No. 01-16-0002-6900. Claimant asserts that

  the arbitral forum exceeded its authority by making factual findings and reaching legal

  conclusions for which it had no authority; the Final Award contravenes United States

  public policy; and its holdings are arbitrary, capricious and manifestly erroneous.

                JURISDICTION, VENUE and STANDARDS FOR RELIEF

         1.     Respondent incorporated an arbitration clause into Claimant’s employment

  contracts by virtue of reference to a purported collective bargaining agreement. Claimant

  is a citizen of Nicaragua. As such, these proceedings are governed by Convention on the

  Recognition and Enforcement of Foreign Arbitral Awards (the “Convention”), as
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  implemented by Chapters 1 and 2 of Title 9, U.S.C. Bautista v. Star Cruises, 396 F.3d

  1289, 1294 (11th Cir. 2005).

        2.      This Court has subject matter jurisdiction. Id.; 9 U.S.C. § 203.

        3.      Venue for this Motion to Vacate lies in the Southern district of Florida

  because the Final Award was made in Miami, Florida, and this Motion is timely because it

  is being served on July 10, 2108, within three months of delivery of the Final Award. 9

  U.S.C. §§ 10(a), 12; Ex. “A”, p. 19.

        4.      Article V of the Convention provides that this Court may refuse to enforce

  an arbitration award governed by the Convention if “[t]he award deals with a difference

  not contemplated by or not falling within the terms of the submission to arbitration, or it

  contains decisions on matters beyond the scope of the submission to arbitration.” Art V, §

  1.(c). Compare 9 U.S.C. § 10(a)(4) (an arbitration award may be vacated when “the

  arbitrators exceeded their powers… .”), 9 U.S.C. § 208 (incorporating provisions of Title

  9, Chapter 1 which do not conflict with the Convention).

        5.      The Convention further provides that this Court may refuse to enforce an

  arbitration award if “[t]he recognition or enforcement of the award would be contrary to

  the public policy of [the forum] country.” Art V, § 2(b). Compare Peco Foods v. Retail

  Wholesale & Dep’t Store Union, Case No. 17-13269, *6 (11th Cir. March 15, 2018)

  (unpublished) (“A court may refuse to enforce an arbitration award on public policy

  grounds… .”).


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         6.     Finally, this Court may refuse to enforce an arbitration award when the award

  in question contains manifest legal error, or it is an arbitrary or capricious decision. B.L.

  Harbart Intern., LLC v Hercules Steel Co., 441 F.3d 905, 910 (11th Cir. 2006); Ainsworth

  v. Skurnick, 960 F.2d 939, 941 (11th Cir. 1992).1

                 PROCEDURAL HISTORY and UNDISPUTED FACTS2

         7.     From October 29, 2012 until March of 2016, Respondent employed Claimant

  as a server aboard its cruise ships. See Ex. “A” at 2-3. Throughout that time Claimant was

  a member of the crews of Respondent’s vessels, and as such held the legally protected

  “seaman” status as defined by the General Maritime Law (“GML”) of the United States.

         8.     On or about July 2, 2013 Claimant suffered the onset of back pain while in

  the service of Respondent’s cruise ship.3 See Ex. “A” at 5.


  1
    But see Frazier v. Citifinancial Corp., 604. F.3d 1313, 1324 (11th Cir. 2010) (holding, on
  behalf of the entire Eleventh Circuit, that non-statutory grounds to vacate arbitration
  awards would no longer be recognized). Notably, Frazier was a panel opinion and as such
  its assertion is invalid. In this Circuit it is fundamental that a subsequent panel of the court
  cannot overrule a prior panel’s decision. Smith v. GTE Corp., 236 F.3d 1292, 1300 n.8
  (11th Cir. 2001) (“Under the well-established prior panel precedent rule of this Circuit, the
  holding of the first panel to address an issue is the law of this Circuit, thereby binding all
  subsequent panels unless and until the first panel’s holding is overruled by the Court sitting
  en banc or by the Supreme Court.").
  2
    These following undisputed facts and subsequent items of contested evidence are all set
  forth in Exhibit “A”, the Final Award, except for ¶17, which is documented in Exhibit “B”.
  3
   The Parties dispute the cause of the Claimant’s sudden back pain. Claimant testified that
  she slipped on salad dressing while carrying a heavily-loaded serving tray and twisted her
  back. Respondent successfully denied that this incident ever occurred (based entirely on
  hearsay statements in hearsay documents, which Claimant had sought to exclude).
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         9.     Respondent provided an MRI examination and treatment by orthopedic knee

  and shoulder specialist Dr. James Voglino, a member of Respondent’s retained medical

  network in Miami. The MRI and Dr. Voglino confirmed that Claimant had suffered a

  protruding inter-vertebral disc between her L5 and S1 vertebrae. See Ex. “A” at 5-6.

         10.    Over the next three years Claimant continued to suffer back pain of varying

  severity. See Ex. “A” at 6-9. Several times she reported to the ship’s infirmary, where she

  was treated with simple pain killers. See Ex. “A” at 6-9. At another point her symptoms

  were so severe that Respondent’s ship’s physician prescribed that Claimant should cease

  her duties and return to her home country of Nicaragua for medical care. See Ex. “A” at 6-

  7. Claimant protested to the Staff Captain because she needed to continue earning wages.

  See Ex. “A” at 7. Respondent therefore arranged for Dr. Robert Sedaros to evaluate

  Claimant. In this examination Claimant denied having any symptoms at all and was

  returned to duty. See Ex. “A” at 7-8

         11.    In and June 2016 Respondent arranged another lumbar MRI for Claimant

  medical care for her back under the auspices of another member of its Miami medical

  network, Dr. Rolando Garcia, and had provided another MRI. See Ex. “A” at 9-10.

         12.    As of July 2016, none of Claimant’s treating physicians – all of whom had

  ongoing business relationships with Respondent – had ever declared that Plaintiff had

  reached the point of Maximum Medical Cure (“MMC”).4 See, e.g., Ex. “A”, passim.


  4
   MMC is a maritime law term of art roughly equivalent to the shoreside phrase “maximum
  medical improvement.”
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         13.    In July 2016, as allowed by the GML, Claimant elected to treat with a

  physician of her own choosing, orthopedic surgeon Dr. Thomas Roush. See Ex. “A” at 10.

         14.    Based on Claimant’s 2013 and 2016 MRI’s, Dr. Roush performed a bilateral

  L5-S1 microdiscectomy on September 30, 2016. See Ex. “A” at 10-11.

         15.    In 2016 Claimant asserted claims against Respondent for personal injury

  damages on the basis of negligence under the Jones Act, 46 U.S.C. § 30104, and strict

  liability under the GML doctrine of Unseaworthiness. She also sought payment for her

  2016 surgery under the doctrine of Cure (the duty of a seaman’s employer to provide her

  medical care), as well as separate damages and attorneys’ fees arising from Respondent’s

  refusal to fulfill its Cure obligation. See Ex. “A” at 1-2.

         16.    At Respondent’s request and prior to the final hearing, Claimant submitted

  to a compulsory expert examination by Dr. Amar Rajadhyaksha, an expert witness with

  long standing ties to both Respondent and Respondent’s counsel. See Ex. “A” at 11.

         17.    In October 2017 Respondent conceded, in the deposition of its corporate

  representative, both that Claimant was still receiving maintenance and cure benefits with

  regard to different medical issues which arose in March 2016, and that Respondent had

  authorized payment for Dr. Roush (albeit at the discounted rates of health insurers). See

  Ex. “B”, Deposition of Respondent through representative Marlen Palmero, at 107-108,

  110.




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         18.      The arbitration went to final hearing over the course of December 13-15,

  2107. See Ex. “A” at 1.

                         PERTINENT CONTESTED TESTIMONY

         19.      Dr. Roush testified that the 2016 MRI revealed a herniated L5-S1 disc and

  inflamed corresponding nerves, and that the 2013 MRI was basically the same. See Ex.

  “A” at 10-11.

         20.      Dr. Roush further testified that during surgery he personally saw a full

  thickness tear of Claimant’s L5-S1 disc, which he documented in his operative report. See

  Ex. “A” at 12.

         21.      Dr. Rajadhyaksha, Respondent’s paid litigation expert, testified that he did

  not observe disc herniations or inflamed nerves on either of the MRI scans. He claimed not

  to see the full thickness tear of Claimant’s L5-S1 disc and that such a tear “would expected

  to be seen” [sic]. See Ex. “A” at 12.

         22.       Dr. Rajadhyaksha testified instead that the MRI’s revealed only a disc

  “protrusion” and desiccation resulting from natural degenerative changes, which are

  supposedly normal and common among people in the age range from their 30’s to their

  50’s. See Ex. “A” at 12.

         23.      As of July 3, 2013, Claimant was only 28 years old. See Ex. “A” at 2.

         24.      Dr. Rajadhyaksha testified that Claimant’s sudden onset of pain in July 2013

  resulted only from these alleged degenerative changes. See Ex. “A” at 5.


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         25.    Based in part on this testimony, the arbitral forum determined that Claimant’s

  2016 surgery was not medically necessary or indicted, that it constituted palliative medical

  care, and that Claimant had reached MMC (without assigning a date therefore or any

  purported evidence supporting this conclusion). MMC. See Ex. “A” at 13, 17.

         26.    Respondent offered no evidence, either through Dr. Rajadhyaksha or

  otherwise, that an MRI will always perfectly reveal the exact condition of their targets; that

  they will always pick up existing spinal disc herniations in particular; or, most significantly,

  that any mechanical diagnostic technique is better than (or even as good as) actually

  looking at an intervertebral disc during surgery in order to assess its actual condition. See,

  e.g., Ex. “A,” passim.

                                     THE FINAL AWARD

         27.    The Final Award denied all of Claimant requests for relief.5 See Ex. “A” at

  19. It adopted each and every argument presented by Respondent, without question, on

  the basis of paid expert witness testimony and hearsay statements tendered by Respondent

  within hearsay documents. It completely rejected all of Claimant’s testimony and all of

  Dr. Roush’s testimony. See Ex. “A,” passim.


  5
    And, the Final Award does not stop there: it accuses Claimant of fabricating her accident,
  of lying to almost all of her physicians, and of undergoing a general anesthesia, spine-
  deforming surgery exclusively for purposes of “this litigation.” The Final Order insinuates
  that Claimant’s counsel unethically steered her to Dr. Roush. It expressly accuses Dr.
  Roush, a Florida-regulated physician, of performing an unnecessary surgery, of lying then
  he testified that he actually observed a full thickness tear of Claimant’s L5-S1 disc with his
  own eyes, and of fabricating his operative report.

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         28.    The arbitral forum justified its refusal to award any Cure benefits with its

  contested, after-the-fact conclusion that Claimant’s surgery was not medically necessary,

  did not improve her medical condition and, as such, constituted palliative care beyond the

  scope of Respondent’s Cure obligation. See Ex. “A” at 17.

         29.    To the contrary, and without citing any evidence, the Final Award “found”

  that Claimant had reached MMC at some unspecified time in the past. See Ex. “A” at 13.

         30.    The Arbitrator did not have lawful authority to make these determinations.

  Further, these determinations contravene well established and well known United States

  public policy, and they are manifestly erroneous, arbitrary and capricious.

                                 MEMORANDUM OF LAW

         Under the General Maritime Law of the United States, a seaman’s employer must

  provide medical care for illnesses, injuries and other medical problems which arise in the

  course of her service to the vessel.

         Maintenance and cure is an ancient duty under the law of admiralty that arises
         against a shipowner in favor of a seaman who becomes ill, injured, or
         incapacitated, or whose condition becomes aggravated or enhanced for any
         reason, at least until the time that the seaman has achieved maximum medical
         recovery . . . Admiralty courts have traditionally been liberal in interpreting
         the scope of this duty… . The seamen are wards of this Court and
         maintenance and cure should be afforded as long as there is any ambiguity
         or uncertainty about the continuation of that status… . “The nature and
         foundations of the liability required that it be not narrowly confined or
         whittled down by restrictive and artificial distinctions defeating its broad and
         beneficial purposes.” Aguilar v. Standard Oil Co., 318 US 724, 735, 63 S.Ct.
         930, 87 LED. 1107 (1943).



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  Duarte v. Royal Caribbean, 761 So. 2d 367, 368 (Fla. 3d DCA 2000). The termination point

  for the employer’s Cure obligation, maximum medical improvement, or Maximum Medical

  Cure, is defined as the point when it appears that the seaman will no longer benefit from

  curative medical treatment. Vella v. Ford Motor Co., 421 U.S. 1, 5 (1975); Johnson v.

  Marlin Drilling Co., 893 F.2d 77, 79 (5th Cir., 1990); Morales v. Garijak, Inc., 829 F.2d

  1355 (5th Cir. 1987); Gaspard v. Taylor Diving & Salvage Co., Inc., 649 F.2d 374 n. 3 (5th

  Cir.1981); Pelotto v. L & N Towing Co., 604 F.2d 396, 400 (5th Cir.1979). Curative medical

  treatment is, in turn, defined as care which designed to improve the seaman’s condition, as

  opposed to palliative care which treats only symptoms. See, e.g. Muruaga v. United States,

  172 F. 2d 318, 321 (2d Cir. 1949). Thus, determinations of MMC and the curative nature of

  proposed medical care are two sides of the same coin: if there is curative treatment available

  to the seaman, then by definition she has not reached MMC.

        While a seaman is not entitled to palliative care after reaching MMC, the seaman is

  entitled to both curative and palliative care before reaching MMC. Smith v. Delaware Bay

  Launch Serv., Inc., 972 F.Supp. 836, 851 (D.Del. 1997); Nurkiewicz v. Vacation Break

  U.S.A., Inc., 771 So.2d 1271, 1273 (Fla. 4th DCA 2000). Moreover, if a seaman receiving

  maintenance and cure for one medical problem (i.e., not yet MMC) suffers new, different

  medical problems, that seaman is also entitled to Cure for those new problems. Duarte v.

  Royal Caribbean, supra, 761 So. 2d at 368.



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          To be effective, an MMC declaration must be clear and unequivocal. Johnson v.

   Marlin Drilling Co., 893 F.2d 77, 79 (5th Cir., 1990); Tullos v. Martin Drilling Co., 750 F.2d

   380, 385 (5th Cir. 1985). Adjudicators must resolve any doubts or ambiguities about the

   curative nature of requested treatment in favor of the seaman. Vaughan v. Atkinson, 369 U.S.

   527, 530-331 (1962); Aguilar v. Standard Oil Co., 318 U.S. 724, 730 (1943); Duarte, supra,

   761 So. 2d at 368. See also, Atlantic Sounding Co., Inc. v. Townsend, 129 S.Ct. 2561 (2009).

   “[W]hen there are ambiguities or doubts [as to a seaman's right to receive maintenance and

   cure], they are to be resolved in favor of the seaman." Vaughan, supra, 369 U.S. at 532.

          Thus, the GML on the entitlement to Cure is quite clear and quite simple: if the treating

   medical professionals have not clearly, unequivocally and unanimously declared that a

   proposed course of treatment would be merely palliative, then the seaman is entitled to that

   treatment. “[T]he breadth and inclusiveness” of a shipowner's duty to pay maintenance and

   cure “assure its easy and ready administration for [i]t has few exceptions or conditions to stir

   contentions, cause delays, and invite litigations.” Vella, supra, 421 U.S. at 4.

          Finally, as expressly noted in the Final Award, MMC determinations fall

   exclusively within the province of the seaman’s treating physicians: “Whether a particular

   seaman has reached MMC is strictly a medical question to be determined by the

   medical professionals.” Ex. “A” at 17 (emphasis added). Judges and arbitrators are

   neither qualified nor legally entitled to make this determination.



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          The arbitral forum was aware of all of the foregoing, well established legal

   principals; indeed, most of the foregoing citations and propositions were lifted directly

   from the Final Award itself. Moreover, Claimant submitted pre- and post-final hearing

   bench briefs which set them forth and then reiterated them. Yet, the arbitral forum simply

   ignored them all.

          First, the Final Award completely ignores the fact that had never been a clear and

   unequivocal declaration that Claimant had achieved MMC before her surgery (let alone

   any clear and unequivocal declaration); not even by Respondent’s own doctors had done

   so. To the contrary, the Final Award expressly and completely ignores the opinion of

   Claimant’s treating surgeon, Dr. Roush, that Claimant had not reached MMC before her

   surgery. Second, in the same way, the Final Award ignores – does not even address - the

   arbitral forum’s duty, as a matter of public policy, to resolve all doubts and ambiguities in

   favor of Claimant and her right to receive Cure. Third, the Final Award likewise ignores

   the arbitral forum’s duty, as a matter of public policy, to protect Claimant as a ward of

   admiralty.

          Fourth, the arbitral forum substituted its own judgment that Claimant’s surgery was

   only palliative for that of Claimant’s treating surgeon, in blatant disregard of its own

   recognition that a determination of “MMC is strictly a medical question to be

   determined by the medical professionals.” Fifth, in substituting its judgment for that of

   the treating medical professionals, the arbitral forum looked backwards after surgery to


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   assert that – in its own opinion – the surgery had not been unsuccessful and was therefore

   palliative. That is not and cannot be the test: the curative nature of care must be assessed

   looking forward, before the care is rendered, to assess whether it expected to improve the

   seaman’s condition. Otherwise, every ship owner would wait to see the outcome of a

   seaman’s medical care and then deny payment if it had any basis to assert that the treatment

   had been unsuccessful.

          Sixth, the arbitral forum deemed itself to be a medical professional yet again when

   it declared - without citing any evidence whatsoever – that “Claimant has now reached

   maximum medical cure ("MMC") for her back pain.” Ex. “A” at 13. Instead of citing

   evidence (there was none to cite), and even though no treating physician ever issued

   an MMC declaration, the arbitral forum placed the burden on Claimant to prove that

   she had not reached MMC at the time of her surgery: “there is no credible medical

   evidence in the record that the Claimant' s back condition will improve with additional

   medical treatment. Any further treatment will only be palliative in nature.” Id.

          Seventh, and perhaps most egregiously, the Final Award completely failed to

   address the fact that Respondent is and was required by law to pay for Claimant’s back

   surgery. The Tribunal held that the back surgery was palliative medical treatment. At

   the time of the back surgery, Respondent was providing Claimant Maintenance and

   Cure benefits for her other, separate medical problems. Plaintiff was entitled to any

   palliative medical care until she was at overall maximum medical improvement for


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   any and all conditions. See Delaware Bay Launch, supra; Duarte, supra; Nurkiewicz,

   supra. In fact, the arbitral forum ignored the fact that Respondent had already authorized

   payment for Dr. Roush’s back surgery.

          Under any view of the Final Award, its findings of fact are supported by so little

   evidence, its conclusions of law are so egregiously mistaken and improper, and it is so

   glaringly incomplete that its refusal to award Cure benefits to Claimant can only be

   described as arbitrary and capricious, exceeding the Arbitrator’s authority.

                                       CONCLUSION

          The arbitral forum knowingly and intentionally exceeded its authority when it

   forayed into the realm of medical determinations about MMC and the curative nature of

   Claimant’s surgery. In doing so, the arbitral forum egregiously and manifestly violated

   almost every aspect of well-established Cure jurisprudence, doctrines which were known

   to and ignored by the arbitral forum. The arbitral forum’s improper determinations that

   Claimant’s surgery was not curative and that Claimant had achieved MMC were arbitrary

   and capricious in that they were devoid of evidentiary support, ignored contradictory

   evidence, employed improper legal standards, and improperly reversed the burdens of

   proof. The Final Award does not even address Claimant’s right to recover her surgery

   expenses in light of her ongoing Maintenance and Cure benefits for different medical

   issues. Finally, the Final Award contravenes well established, centuries-old public policies




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   of the United States which require forums to protect seamen as their wards and to resolve

   all doubts regarding entitlement to Cure in the seaman’s favor.

          WHEREFORE, Claimant respectfully requests this Court to enter an order which

   vacates the Final Award.

                   SIGNATURE and CERTIFICATE OF SERVICE

          I certify that on July 10, 2018, I filed the foregoing document with the Clerk to the

   Court using CM/ECF. I also certify that the foregoing document is being served this day

   on all counsel of record or pro se parties identified on the attached service at the email

   address specified, both by transmission of Notices of Electronic Filing generated by

   CM/ECF and by directly emailing the document to them.

          DATED THIS 10th day of July, 2018.

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